Case 5:18-cv-00173-TBR-LLK Document 15 Filed 10/21/19 Page 1 of 1 PageID #: 60



                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                   PADUCAH DIVISION
                                CASE NO. 5:18‐CV‐173‐TBR

CONNIE BUSHNELL                                                                      PLAINTIFF

V.                                          ORDER

MAXFUEL XPRESS                                                                     DEFENDANT

       A telephonic conference was held on October 1, 2019.
       Appearing for the call:
       Matthew P. Schultz
       Harlan E. Judd, III
       IT IS ORDERED.
       1) The motion to withdraw as attorney at Docket #14 is granted. Matthew P. Schultz
is withdrawn as counsel for plaintiff Connie Bushnell and will no longer receive electronic
notice regarding the case.
       The Court notes that the exhibit and proposed order were omitted from the filing at
Docket #14. The Court grants the motion.
       2) Plaintiff, Connie Bushnell, is given 30 days to attempt to find new counsel.
       3) A telephonic status conference is set NOVEMBER 26, 2019 at 8:45 a.m. CDT.
Counsel and plaintiff and/or counsel must call 1‐877‐848‐7030 then give the Access Code
2523122 and #, then when prompted press # again to join the call.
       If new counsel has been secured by the plaintiff, new counsel shall also join the call. If
new counsel has not been secured, plaintiff and her daughter shall join the call.
       4) The schedule remains as set at this time and shall be discussed on the November 26,
2019 telephonic conference.
       5) The Clerk of Court shall mail a copy of Docket #14 to plaintiff, Connie Bushnell, with
this order.
       IT IS SO ORDERED.

cc:    Counsel
Mailed to:
Connie Bushnell
407 Tanglewood Court
Cornersville TN 37047

Jennifer Lindsey
                                                             October 21, 2019
720 Verona Avenue
Lewisburg TN 37091
931-447-1891
p/10
